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                                                                                     ____ LOGGED _____ RECEIVED

                                                                                     11:39 am, Nov 03 2021
                                                                                     AT BALTIMORE
                       IN THE UNITED STATES DISTRICT COURT                           CLERK, U.S. DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND                               DISTRICT OF MARYLAND
                                                                                     BY ______________Deputy

 IN THE MATTER OF THE AFFIDAVIT IN
 SUPPORT OF A SEARCH WARRANT                                     1:21-mj-2961 TMD
                                                       Case No. ____________________
 AUTHORIZING A DNA SAMPLE
 COLLECTION FROM DAVIN JOHNSON



                              AFFIDAVIT IN SUPPORT OF
                        APPLICATION FOR A SEARCH WARRANT

        I, Jeffrey Kelly, a Special Agent with the Federal Bureau of Investigation (“FBI”), being

duly sworn, depose and state as follows:

                                        INTRODUCTION

       1.      The FBI has been investigating Davin JOHNSON for a violation of 18 U.S.C. §

922(g) (possession of a firearm by a prohibited person). This affidavit is being submitted in

support of an application for a search warrant pursuant to Federal Rule of Criminal Procedure 41

to obtain samples of Deoxyribonucleic Acid (“DNA”) for comparison purposes in the form saliva

from Davin JOHNSON, a man born in 2001, and assigned a Maryland State Identification number

4594639. A photograph of JOHNSON is attached as Attachment A. I anticipate that JOHNSON

will be held at the Chesapeake Detention Facility following his initial appearance in federal court

on or about October 27, 2021. See LKG-21-397. The warrant would authorize members of the

FBI, or their authorized representatives, to obtain DNA contained within saliva samples from

JOHNSON, as described in Attachment B.

       2.      I submit this affidavit for the limited purpose of securing the requested warrant. I

have not included details of every aspect of this investigation to date. Rather, I have set forth only

those facts that I believe are necessary to establish probable cause supporting the warrant. I have
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not, however, intentionally omitted information that would tend to defeat a determination of

probable cause.

       3.      I believe that probable cause exists that JOHNSON possessed a firearm in violation

of 18 U.S.C. § 922(g) on February 2, 2021. Therefore, I respectfully request that this Court find

probable cause that evidence of the criminal violation is contained in the form of DNA in saliva in

the possession of JOHNSON.

                                  AFFIANT BACKGROUND

       4.      I am a Special Agent with the Federal Bureau of Investigation. As such, I am

investigative or law enforcement officer of the United States within the meaning of 18 U.S.C. §

2510(7), that is, an officer of the United States who is empowered by law to conduct investigations

of, and to make arrests for, offenses enumerated in 18 U.S.C. § 2516.

       5.      I am a duly sworn member of the FBI and have been so employed since September

4, 2016. On September 16, 2018, I became a Special Agent and have been assigned to the

Baltimore Division of the FBI, Safe Streets Task Force, in Baltimore, Maryland. I have actively

participated in investigations of criminal activity, including but not limited to investigations of

various violent crimes and drug distribution cases. During these investigations, I have participated

in the execution of search warrants and the seizure of evidence. These investigations have resulted

in the arrest and conviction of individuals responsible for committing these crimes. I have

conducted or participated in wiretap investigations, surveillances, the execution of search warrants,

the recovery of substantial quantities of narcotics and narcotics paraphernalia, the recovery of

evidence related to homicides and other violent acts, and the debriefing of witnesses. I have also

reviewed taped conversations, as well as documents and other records relating to narcotics

trafficking, firearms offenses, and homicides.
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       6.      I have interviewed confidential informants, cooperating witnesses, street-level and

mid-level narcotics distributors/traffickers, narcotics users, and members of violent street gangs.

These interviews provided me with insight into patterns and methods commonly used by drug

trafficking organizations and street gangs, including counter-surveillance techniques used by drug

trafficking organizations and street gangs to avoid detection by law enforcement, and the various

ways the organizations and gangs communicate with each other. Further, I am familiar with the

ways in which individuals involved in narcotics trafficking organizations and street gangs used

violence and firearms to protect themselves and their drug operation, retaliate against rivals,

eliminate witnesses, and impose discipline within the organization.

       7.      I am familiar with firearm and narcotic statues, and the methods employed by those

who perpetrate these acts. I know based on my training, knowledge, and experience that DNA can

be found on items such as clothing and firearms and can be compared to a sample of DNA from a

known person. This comparison can help identify or eliminate suspects. I further know that the

Baltimore City Police Department (“BPD”) Forensics lab will not test firearms for the presence of

DNA (or do any subsequent comparison) without a standard to which it can be compared.

                                     PROBABLE CAUSE

       8.      On February 2, 2021, members of BPD’s Southwest District Action Team (DAT)

were monitoring Instagram social media accounts and observed JOHNSON live streaming from

the account “twgmanman” 1. During the live stream, JOHNSON possessed and manipulated a

firearm. The DAT team could determine from where JOHNSON streamed the feed based on

buildings they recognized in the background.




1
 On August 16, 2021, the Honorable Judge Thomas DiGirolamo signed a search and seizure
warrant for the content of this Instagram account.
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       9.      The DAT team drove to towards the 400 block of Bentalou Street while continuing

to monitor the live stream of JOHNSON on his Instagram account. While team traveled south

bound on Bentalou Street, they observed JOHNSON sitting in the front passenger seat of the black

Honda, bearing Texas buyer tag 98286T1, parked on the eastside of the street facing southbound

with a black male in the driver seat.

       10.     DAT team stopped and approached the Honda. They ordered JOHNSON and the

male in the driver seat to show their hands and open the door. The DAT team conducted a pat

down of JOHNSON when they removed JOHNSON from the vehicle. They recovered a gray and

black Glock 49, 9mm bearing serial number BLWD972, inside of his left jacket pocket, along with

suspected marijuana and cocaine. The firearm contained a live 9mm round in the chamber of the

and 10 live 9mm rounds inside the magazine. I believe the recovered gun is substantially similar,

if not the same gun, JOHNSON held during the Instagram live stream.

       11.     The DAT team arrested JOHNSON on scene and transported him to the Southwest

Police District.

       12.     The firearm was test-fired at the BPD Firearms lab on February 11, 2021 and

expelled a projectile by the action of an explosive, and therefore qualifies as a firearm under 18

U.S.C. § 921(a)(3). Investigators involved in the investigation spoke with an Bureau of Alcohol,

Tobacco, Firearms and Explosives (“ATF”) Nexis Expert who determined that the firearm was not

manufactured in Maryland, so that when it was recovered during JOHNSON’s arrest in Maryland

the gun affected interstate commerce.

       13.     I know based on a review of JOHNSON’s criminal record that prior to the events

outlined in this affidavit, JOHNSON was convicted of a crime that carried over a year of possible

incarceration. Moreover, JOHNSON signed a probation order as to this conviction acknowledging
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that he had been convicted of a crime that carries a punishment of over a year in prison and is

prohibited from possessing a firearm and/or ammunition regulated for a firearm.

       13.      The BPD Forensics Lab swabbed and analyzed the handgun for DNA. The swabs

cannot be forwarded for DNA analysis until a standard for a suspect is obtained and a comparison

is requested.

                             DNA AUTHORIZATION REQUEST

       14.      Based on my training and experience, I believe that JOHNSON’s DNA will be on

the firearm recovered during his arrest. A known a sample of his DNA is required to test and

compare any and all DNA recovered. Accordingly, I am requesting authorization for a warrant to

obtain samples of DNA for comparison purposes in the form of saliva from JOHNSON to compare

to the swabs taken from the firearm that I believe was possessed by JOHNSON in violation of 18

U.S.C. § 922(g), felon in possession of a firearm.

       15.      Further, I respectively request that the Court issue a warrant authorizing members

of the FBI, or their authorized representatives, including but not limited to other law enforcement

agents, to obtain DNA samples from JOHNSON so that the DNA sample may be compared to the

swabs taken from evidence recovered in this case.

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.

                                      ______________________________
                                      Special Agent Jeffrey Kelly
                                      Federal Bureau of Investigation


       Affidavit submitted by email and attested to me as true and accurate by telephone
consistent with Fed. R. Crim. P. 4.1 and 41(d)(3) this ______ day of October 2021.
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                     ______________________________
                     The Honorable Thomas M. DiGirolamo
                     United States Magistrate Judge
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                       ATTACHMENT A

              Photograph of Person to be Searched

                        Davin JOHNSON
                            YOB: 2001
           Maryland State Identification Number 4594639
                    FBI number A1AEAM9TT
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                                     ATTACHMENT B

                              Description of Items to be Seized

       Buccal (oral) swabs of the inside of JOHNSON’s mouth limited to the extent where

sufficient samples of DNA are obtained.
